Case 2:05-cV-02095-.]DB-STA Document 21 Filed 07/14/05 Page 1 of 2 Page|D 40

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEH_ED gY

 

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WESTERN DIVISION
05 JUL th PH 24 38
WILLIAM RAY INGRAM, )
) 14-40444~344. GO*JlD
Plaintiff, ) misc U.S. _Dt%ts§THQQURT
) Wf[: 04 444 444;_4‘44;#:440
v. ) NO. 05-2095 B/An
)
CITICORP CREDIT SERVICES, INC. )
(USA) d/b/a GooDYEAR CREDIT )
PLAN, et. al, )
)
Defendants. )

 

ORDER GRANTING MOTI`ON TO STAY DISCOVERY

 

Before the COurt is Defendant Citibank, N.A.’s (“Citibank”) Motion to Stay Discovery
Pending Court’s Ruling on Motion to Stay Proceedings in Favor of Arbitration filed on June 7,
2005 . Plaintiff failed to tile a response to the motion as required by Local Rule 7.2(a)(2).
“Failure to timely respond to any motion, other than one requesting dismissal of a claim or
action, may be deemed good grounds for granting the motion.” Local Rule 7.2(a)(2). As such,
because Plaintiff did not respond and for good cause shown, the Motion is GRANTED.
Discovery in these proceedings shall be stayed until United States District Judge J. Daniel Breen
either adopts or rejects the report and recommendation entered by the Undersigned on Citibank’s
Motion to Stay Proceedings in Favor of Arbitration.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE .TUDGE

Date: w /Z, ?OOS/
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with Ru|e 58 and/or 79(3) FRCP on 2" [,5 / g l

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CV-02095 Was distributed by faX, mail, or direct printing on
.luly 15, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

